Attention of the Court has been called to the point that our statement of facts in the opinion of October 28, 1943,16 So.2d 739 omitted mention of the fact that defendant's employee, Russell, at the time of leaving the Caddo Hotel in Shreveport about 6:30 on the evening of the accident, intended to return to Logansport. There is no dispute on this point. The testimony of Russell in his deposition plainly indicates that he did intend to return to Logansport and that he was actually en route there when he made the stop at Kolb's Bar. Russell also testified that he intended to turn in the orders he had received during the day to his employer the following morning.
For the purpose of clarifying the record, the additional facts are hereby incorporated as a part of the statement of fact set forth in our opinion as above referred to.
However, this statement is not to be construed as indicating that it is our opinion that Russell intended making the return trip to Logansport from Shreveport in connection with the duties of his employer's business. On the contrary, we adhere to the expressions of our original opinion to the effect that no re-entry upon the business of the employer was established.
The application for rehearing is denied.